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UNITED STATES OF AMERICA

                IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF HAWAII


UNITED STATES OF AMERICA, ) CR No. 23-00003 LEK
                          )
             Plaintiff,   ) ORDER OF FORFEITURE
                          ) (MONEY JUDGMENT)
    v.                    )
                          )
MARTIN KAO,               )
                          )
             Defendant.   )
                          )
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               ORDER OF FORFEITURE (MONEY JUDGMENT)

      WHEREAS an Indictment was filed on January 5, 2023, charging defendant

Martin Kao with one count of bank fraud in violation of 18 U.S.C. § 1344; and

      WHEREAS, on or about April 5, 2024, without a plea agreement, defendant

Martin Kao pled guilty to the Indictment; and

      WHEREAS, pursuant to 18 U.S.C. § 982(a)(2), a person convicted of a

violation of 18 U.S.C. § 1344, shall forfeit to the United States any property

constituting, or derived from, proceeds the person obtained directly or indirectly,

as the result of such violation; and

      WHEREAS Rule 32.2(b)(2)(C) of the Federal Rules of Criminal Procedure

provides that, in cases where the court cannot calculate the total amount of the

money judgment prior to sentencing, the court may issue an order of forfeiture

describing the property in general terms, subject to amendment pursuant to Rule

32.2(e)(1) of the Federal Rules of Criminal Procedure when the amount of the

money judgment has been calculated; and

      WHEREAS the Court has considered the defendant’s plea of guilty, other

evidence already in the record, and any additional evidence submitted by the

parties; and

      WHEREAS the United States is entitled to a forfeiture money judgment,

pursuant to 18 U.S.C. § 982(a)(2), of property that constitutes or is derived from



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proceeds obtained from the bank fraud to which defendant Martin Kao has pled

guilty; and the Court so finds; and

      WHEREAS, pursuant to the Indictment and 21 U.S.C. § 853(p), as

incorporated by 18 U.S.C. § 982(b), it is the intent of the United States to seek

forfeiture of any other property of the defendant up to the value of the property

subject to forfeiture if, as a result of any act or omission of the defendant, any

property subject to forfeiture:

      (A)    cannot be located upon the exercise of due diligence;

      (B)    has been transferred or sold to, or deposited with, a third party;

      (C)    has been placed beyond the jurisdiction of the court;

      (D)    has been substantially diminished in value; or

      (E)    has been commingled with other property which cannot be
             divided without difficulty; and

      WHEREAS Rule 32.2(c)(1) of the Federal Rules of Criminal Procedure

provides that no ancillary proceeding is required to the extent that the forfeiture

consists of a money judgment; and

      WHEREAS good and sufficient cause has been shown,

      It is hereby ORDERED, ADJUDGED, AND DECREED:

      THAT, pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal

Procedure, this Order shall become final as to defendant Martin Kao on the date it

is entered by the Court, and it shall be made part of the sentence of defendant



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Martin Kao and shall be included in the judgment of conviction of defendant

Martin Kao; and

      THAT, pursuant to 18 U.S.C. § 982(a)(2) and Rule 32.2(b) of the Federal

Rules of Criminal Procedure, defendant Martin Kao shall forfeit to the United

States any property constituting, or derived from, proceeds defendant Martin Kao

obtained directly or indirectly, as the result of the violation of 18 U.S.C. § 1344 to

which defendant Martin Kao has pled guilty; and

      THAT, pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal

Procedure, upon entry of this Order, the United States Attorney’s Office is

authorized to conduct any discovery needed to identify, locate, or dispose of

forfeitable property, including depositions, interrogatories, requests for production

of documents, and issuance of subpoenas; and

      THAT pursuant to Rules 32.2(b)(2)(C) and (e)(1) of the Federal Rules of

Criminal Procedure, the United States may move at any time to amend this

preliminary order of forfeiture when the United States is prepared to establish the

actual amount of a money judgment, by a preponderance of the evidence, including

but not limited to the forfeitable amount based on the appreciation of 4902 Kahala

Avenue, Honolulu, Hawaii (property purchased with the proceeds of the violation

of 18 U.S.C. § 1344 to which defendant has pled guilty) and any rental income

from such property; and



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      THAT any such motion filed pursuant to Rule 32.2(e)(1) to amend this order

shall be served upon defendant Martin Kao who shall have an opportunity to

respond before any amendment to this order is entered by the court; and

      THAT this Court shall retain jurisdiction to enforce this Order, and to amend

it as necessary, pursuant to Rule 32.2(e) of the Federal Rules of Criminal

Procedure.

      ORDERED this 12th day of February 2025, at Honolulu, Hawaii.




USA v. Martin Kao; Criminal No. 23-00003 LEK; “Order of Forfeiture (Money
Judgment)”




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